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     Jason P. Brown, Petitioner  v.  The People of the State of Colorado. Respondent No. 24SC492Supreme Court of Colorado, En BancApril 14, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      Petition for Writ of Certiorari GRANTED.
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      People v. Manzo, 144 P.3d 551 (Colo. 2006), is no
      longer good law or distinguishable, and whether the court
      reversibly erred and violated Brown's right to due
      process because it allowed the jury to convict him of a class
      3 felony for leaving the scene of an accident resulting in
      death without the prosecution proving he acted with
      any culpable mental state.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      Colorado's habitual offender scheme is unconstitutional
      because it requires a judge-rather than a jury-make findings
      of fact that increase the sentence, and whether Brown's
      adjudication as a habitual offender must be vacated because
      he was deprived of his right to a jury trial.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      AS TO ALL OTHER ISSUES.
    